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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA                                   RECEIVED
                                                                                       APR 11 2012
UNITED STATES OF AMERICA,                     )
                                              )                                  CLERK U.S. DISTRICT COURT
                                                                                 SOUTHERN DISTRICT OFIOWA
                       Plaintiff,             )
                                              )
vs.                                           )       Case No. 3:12 - cr - 00007
                                              )
                                              )
JOSEPH KEITH HAYNES, II,                      )
                                              )
                       Defendant.             )

      REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The defendant
                                                       ~~
entered a plea of guilty to Count(,)    r         of the~ndictmentlIBJ'iARatien. After cautioning

and examining the defendant under oath concerning each of the subjects mentioned in Rule 11, I
                                                                             fb..t
determined that the guilty plea(e) was/~knowing and voluntary as to eMih-count, and that the

offense~) charged ist..e supported by an independent factual basis concerning each of the


essential elements of such offense(I). I, therefore, recommend that the plea(1I) of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the defendant be

adjudged guilty and have sentence imposed accordingly.




                                                   THOMAS   IELDS
                                                   UNITED A ESMAGISTRATEJUDGE


                                             NOTICE

        Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(I)(B).
